Action commenced January 8, 1940, by Roy J. Bersch against the Holton Street State Bank for damages for personal injuries.  The case was tried in the civil court of Milwaukee county without a jury.  Judgment was there granted plaintiff in the sum of $922.  There was an affirmance on appeal to the circuit court.  Defendant appeals from the judgment of the circuit court.
On January 10, 1938, shortly after 12 the plaintiff entered the defendant bank for the purpose of making a deposit.  It was snowing hard and the pavements were covered with wet snow.  As plaintiff approached one of the desks in the bank lobby he slipped on a wet portion of the floor and fell.  He sustained an injury to his knee for which he seeks damages.
There is testimony that customers had been entering the bank since 9 a. m.  The tiled floor became slippery.  An employee of the bank testified that the floor was wet and that *Page 262 
he knew of the tendency of that type of floor to become slippery when it was wet.
The plaintiff testified that the floor was slippery or wet in spots and that he did not notice the spot on which he fell until after the fall.
The trial court found that the defendant was careless and negligent in allowing the condition to remain on its floors for an unreasonable length of time; that the defendant had actual knowledge of the slippery condition of the floor; and that plaintiff sustained injuries to his person as a result of the defendant's negligence.
The general rule is stated in Schroeder v. GreatAtlantic  Pacific Tea Co. (1936) 220 Wis. 642,648, 265 N.W. 559, that one who keeps a store or shop "is bound to exercise reasonable care to keep it in a safe condition for his customers and others whom he invites, expressly or impliedly, to enter on business with him."
In this case, there is testimony to indicate that the bank had notice that the floor was slippery.  In time of storm the likelihood of a slippery walk or floor necessarily comes into existence so that even with knowledge that individuals with wet shoes are using the floor, negligence on the part of the defendant in failing to take steps to relieve it, does not necessarily exist.  It is considered that under the facts appearing in the record there was no duty resting upon defendant to cause the floor to be kept perfectly dry.  It was snowing on that day and customers of the bank could be expected to come in and out of the bank throughout the day.  If the defendant were held to the duty of mopping up the floor and keeping it free from snow and water, it would require perpetual attention because there would be a continual deposit of moisture *Page 263 
upon the floor.  In S. S. Kresge Co. v. Fader (1927),116 Ohio St. 718, 724, 158 N.E. 174, the court held that where, during a rainstorm some water was blown into the front of the store on account of the opening of the door to admit customers, and the incoming shoppers brought in moisture on their clothing and umbrellas so that the floor became damp and slippery, the owner of the store was not liable to a patron who fell on such floor and was thereby injured.  The court said:  "It is not the duty of persons in control of such buildings to keep a large force of moppers to mop up the rain as fast as it falls or blows in, or is carried in by wet feet or clothing or umbrellas."  When the weather creates a natural hazard of this sort, a person of ordinary care is not under a duty to keep a floor in a public place completely free of such deposits.
Since defendant has breached no duty, it is guilty of no negligence and hence not liable.
By the Court. — Judgment reversed.  Cause remanded with directions to reverse the judgment of the civil court and dismiss the complaint.